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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

     IN RE: SEROQUEL PRODUCTS
     LIABILITY LITIGATION
     This document relates to:
     Linda Guinn, No. 6:07-CV-10291
     Janice Burns, No. 6:07-CV-15959                           MDL DOCKET NO:
     Richard Unger, No. 6:07-CV-15812                       6:06-MDL-1769-ACC-DAB
     Connie Curley, No. 6:07-CV-15701
     Linda Whittington, No. 6:07-CV-10475
     Eileen McAlexander, No. 6:07-CV-10360
     David Haller, No. 6:07-CV-15733

       PLAINTIFFS’ SUPPLEMENTAL NOTICE OF UNSEALING AND FILING NON-
        CONFIDENTIAL EXHIBIT 30 (PARTS 301 TO 313) TO THEIR RESPONSE IN
       OPPOSITION TO ASTRAZENECA’S MOTION TO EXCLUDE THE GENERAL
       CAUSATION TESTIMONY OF PLAINTIFFS’ GENERIC AND CASE-SPECIFIC
              WITNESSES AND SUPPORTING MEMORANDUM OF LAW

            Pursuant to the Court’s instructions of February 26, 2009, the above-listed Plaintiffs

     submit their Supplemental Notice of Unsealing and Filing Non-Confidential Exhibit 30

     (Parts 301 to 313) to Their Response in Opposition to AstraZeneca’s Motion to Exclude the

     General Causation Testimony of Plaintiffs’ Generic and Case-Specific Witnesses and

     Supporting Memorandum of Law filed by Defendants AstraZeneca Pharmaceuticals, LP and

     AstraZeneca, LP on or about November 3, 2008, attaching the Exhibits listed below.




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      Exhibits to Plaintiffs’ Response in Opposition to AstraZeneca’s Motion to Exclude the
      General Causation Testimony of Plaintiffs’ Generic and Case-Specific Witnesses and
                                 Supporting Memorandum of Law

          Exhibit No.                                  Description

                             Clinical Study Report – A Multicenter, Randomized, Parallel-
               30            group, Double-blind, Phase III Comparison of the Efficacy and
                             Safety of Quetiapine Fumarate (Oral Tablets 400 mg to 800 mg
                             Daily in Divided Doses) to Placebo when Used as Adjunct to a
                             Mood Stabilizer (Lithium or Valproate) in the Maintenance
                             Treatment of Bipolar I Disorder in Adult Patients, Study code:
                             D1447C00126 – June 19 2007 (Study 126)


     DATED: March 12, 2009                            Respectfully submitted,


                                               By:    /s/ Robert W. Cowan
                                                      F. Kenneth Bailey Jr.
                                                      K. Camp Bailey
                                                      Fletcher V. Trammell
                                                      Robert W. Cowan
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                                                      Co-Lead Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 12th day of March, 2009, I electronically filed the
     foregoing: PLAINTIFFS’ SUPPLEMENTAL NOTICE OF UNSEALING AND FILING
     NON-CONFIDENTIAL EXHIBITS TO THEIR RESPONSE IN OPPOSITION TO
     ASTRAZENECA’S MOTION TO EXCLUDE THE GENERAL CAUSATION
     TESTIMONY OF PLAINTIFFS’ GENERIC AND CASE-SPECIFIC WITNESSES AND
     SUPPORTING MEMORANDUM OF LAW with the Clerk of the Court by using the
     CM/ECF system which will send a Notice of Electronic Filing to all counsel of record that
     are registered with the Court’s CM/ECF system.



                                                      /s/ Robert W. Cowan
                                                      Robert W. Cowan




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